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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

                                                     )
    UNITED STATES OF AMERICA,                        )
                                                     )       CRIMINAL NO. 14CR10363
    v.                                               )
                                                     )
    BARRY CADDEN, et al.,                            )
                                                     )
                  Defendants.                        )
                                                     )

                                PRETRIAL EVIDENTIARY STIPULATION
         The United States Food and Drug Administration (the “FDA”), the United States

Attorney’s Office (the “Government”) and Defendants Conigliaro, Carter, Stepanets, Evanosky,

Svirskiy, K. Chin, Thomas, and Leary (the “Remaining Defendants”) (collectively, the “Parties”)

hereby enter into this pretrial stipulation (the “Stipulation”).

         The Parties stipulate that the following evidence shall be admitted into evidence:

         a.    Congressional testimony of Drs. Hamburg and Woodcock from the following
               hearing dates1:

         Dr. Hamburg’s Testimony

         November 14, 2012 Hearing Before the Subcommittee on Oversight and Investigations of
         the House Committee on Energy and Commerce; November 15, 2012 Hearing Before the
         Senate Health, Education, Labor and Pensions Committee; and April 16, 2013 Hearing
         Before the Subcommittee on Oversight and Investigations of the House Energy and
         Commerce Committee;

         Dr. Woodcock’s Testimony
         May 9, 2013 Senate Hearing 113-756; May 23, 2013 House Hearing 113-48 and July 16,
         2013 House Hearing 113-70




1
 The Government and the Remaining Defendants shall be permitted to present any portion of this testimony they
choose.



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         b.     A redacted version of the FDA Memorandum dated February 2003 from Kristina
                Joyce and Mark Lookabaugh to Central file (a copy showing the redactions is
                attached hereto);

         c.     A redacted version of the FDA Memorandum of August 28, 2012 (a copy showing
                the redactions is attached hereto);

         d.     A redacted version of the FDA memorandum of October 14, 2011 (a copy showing
                the redactions is attached hereto)2;

         e.     E-mails to and from FDA employees on May 11, 2011 (attached hereto); and

         f.     E-mails between FDA employees ending on July 17, 2012 (attached hereto).

         The Remaining Defendants further agree that they will not subpoena any FDA witnesses

(other than those contained in the Government’s witness list), except that if the Government

introduces evidence relating to the FDA that could not have been reasonably anticipated at the

time the parties entered into this Stipulation, the Remaining Defendants reserve the right to call

additional FDA witnesses. The Government and FDA reserve the right to object to the

Remaining Defendants calling additional FDA witnesses, and it shall be the Remaining

Defendants’ burden to convince the Court that additional FDA witnesses are needed to rebut

evidence/testimony that could not have been reasonably foreseen prior to entering into this

Stipulation.

         With respect to FDA related documents other than the documents listed above, the

Remaining Defendants shall not seek to introduce as evidence in their case any other internal

FDA documents, or information, unless specific to FDA’s interactions with, discussions




2
  Defendants believe that one sentence in this memo on Page 2 (highlighted in yellow) should be redacted pursuant
to the Court’s prior order regarding patient harm (dated May 7, 2018 (Dkt. 1495)). The government disagrees, since
the statement was written in 2011 prior to the fungal meningitis outbreak, and is about compounders generally and
not specific to NECC. Because the parties disagree regarding the scope of the Court’s Order, the sentence has been
included (i.e. not redacted) and the parties agree to resolve the issue over that one sentence subject to a ruling by the
Court.


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regarding, and/or decisions regarding the New England Compounding Center. The Government

reserves the right to object to the admissibility of those other FDA documents.

       With respect to the issue of acceptance of service of process, the FDA will not accept

service of process for trial subpoenas on behalf of former FDA employees. However, the FDA

will accept service of process for all trial subpoenas of current employees—including the

acceptance of service for any witnesses on the Government’s witness list that the Remaining

Defendants wish to call, in the event the Government decides not to call them.

       SO STIPULATED.

 GREGORY A. CONIGLIARO,                             GENE SVIRSKIY,
 By his attorneys,                                  By his attorneys,


 /s/ Dan Rabinovitz                                 /s/ Jeremy M. Sternberg
 Dan Rabinovitz (BBO #558419)                       Jeremy M. Sternberg (BBO #556566)
 Shawn Lu (BBO # 679755)                            Christopher M. Iaquinto (BBO #685718)
 Murphy & King, PC                                  Holland & Knight
 One Beacon Street, 21st Floor                      10 St. James Avenue, 11th Floor
 Boston, Massachusetts 02108                        Boston, Massachusetts 02116
 (617) 423-0400                                     (617) 854-1476
 drabinovitz@murphyking.com                         jeremy.sternberg@hklaw.com
 slu@murphyking.com                                 christopher.iaquinto@hklaw.com

 JOSEPH M. EVANOSKY,                                CHRISTOPHER M. LEARY,
 By his attorneys,                                  By his attorneys,


 /s/ Mark W. Pearlstein                             /s/ Paul V. Kelly
 Mark W. Pearlstein (BBO #542064)                   Paul V. Kelly (BBO #267010)
 Dana M. McSherry (BBO #664430)                     Sarah W. Walsh (BBO #664232)
 Jennifer Aronoff (admitted pro hac vice)           Jackson Lewis PC
 Evan D. Panich (BBO #681730)                       75 Park Plaza, 4th Floor
 McDermott Will & Emery LLP                         Boston, Massachusetts 02116
 28 State Street                                    (617) 367-0025
 Boston, Massachusetts 02109-1775                   paul.kelly@jacksonlewis.com
 (617) 535-4000                                     sarah.walsh@jacksonlewis.com
 mpearlstein@mwe.com
 dmcsherry@mwe.com




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SHARON P. CARTER,                         ALLA V. STEPANETS,
By her attorney,                          By her attorney,


/s/ Michael J. Pineault                   /s/ John H. Cunha Jr.
Michael J. Pineault (BBO #555314)         John H. Cunha Jr. (BBO #108580)
Clements & Pineault, LLP                  Cunha & Holcomb, P.C.
24 Federal Street                         One State Street, Suite 500
Boston, Massachusetts 02110               Boston, Massachusetts 02109-3507
(857) 445-0135                            (617) 523-4300
mpineault@clementspineault.com            cunha@cunhaholcomb.com

MICHELLE L. THOMAS,                       KATHY S. CHIN,
By her attorney,                          By her attorney,


/s/ Michael C. Bourbeau                   /s/ Joan M. Griffin
Michael C. Bourbeau (BBO #545908)         Joan M. Griffin (BBO #549522)
Bourbeau and Bonilla, LLP                 P.O. Box 133
Building K                                Dublin, New Hampshire 03444
80 Washington Street                      (617) 283-0954
Norwell, Massachusetts 02061              griffin@lawjmg.com
(617) 350-6565
mike@lawgenie.com

U.S. FOOD AND DRUG                        ANDREW LELLING
ADMINISTRATION,                           UNITED STATES ATTORNEY
By its attorneys,                         By it attorneys,


/s/ Lynn M. Marshall                      /s/ Amanda P.M. Strachan
Lowell J. Schiller                        Amanda P.M. Strachan (BBO #641108)
Acting Chief Counsel                      George P. Varghese
U.S. Food and Drug Administration         Assistant United States Attorneys
                                          John Joseph Moakley Courthouse
Annamarie Kempic                          One Courthouse Way, Suite 9200
Deputy Chief Counsel for Litigation       Boston, Massachusetts 02210
                                          (617) 738-3100
Lynn M. Marshall                          amanda.strachan@usdoj.gov
Associate Chief Counsel                   george.varghese@usdoj.gov
Office of the Chief Counsel
U.S. Food and Drug Administration
10903 New Hampshire Avenue
Bldg. 32, Room 4324
Silver Spring, MD 20993-0002
Lynn.Marshall@fda.hhs.gov



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